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MINUTE ENTRY
DOUGLAS, M.J.
JULY 21, 2021
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

 JERRY ROGERS, JR.                                                                  CIVIL ACTION

 VERSUS                                                                                   NO. 20-517

 SHERIFF RANDY SMITH, DANNY                                                      SECTION “H” (3)
 CULPEPER, and KEITH CANIZARO

          On this date, Plaintiff Jerry Rogers, Jr.’s Motion for Entry of a Privacy Act Protective Order

(Rec. Doc. No. 105) came on for oral hearing before the undersigned. Present were:

          William B. Most and Hope A. Phelps on behalf of plaintiff, Jerry Rogers, Jr.; and
          Chadwick W. Collings on behalf of defendants, Sheriff Randy Smith, Danny Culpeper,
          and Keith Canizaro

          For the reasons stated on the record,

          IT IS ORDERED that Plaintiff Jerry Rogers, Jr.’s Motion for Entry of a Privacy Act

Protective Order (Rec. Doc. No. 105) is GRANTED subject to the revisions discussed on the

record.




                                                  DANA M. DOUGLAS
                                                  UNITED STATES MAGISTRATE JUDGE




 MJSTAR: 00:05
